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               EXHIBIT 10
        Response to Motion to Continue
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                                  1
                                                     MEMORANDUM OF POINTS AND AUTHORITIES

                                  2   I.     INTRODUCTION; RELEVANT FACTS.
                                  3
                                             Plaintiff is the Dean of Students at Embry-Riddle Aeronautical University in
                                  4
                                      Prescott, Arizona (“ERAU”). Defendant is currently a student at ERAU and is to resume
                                  5
                                  6   Fall classes on ERAU’s Prescott campus on August 30, 2021. Although Defendant is
                                  7
                                      currently participating in the Army’s ROTC program, Defendant is not currently enlisted
                                  8
                                      in the armed services. See Army Website FAQ, attached as Exhibit 1 hereto (“Enrolling
                                  9
                                 10   in Army ROTC is not, strictly speaking, joining the Army. You will not be sent to boot
                                 11   camp. However, the primary purpose of the Army ROTC program is to produce its
                                 12
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                                      Officers, so you must agree to serve as Officers in the Army after graduation in order to
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                                 13
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                                 14   go through the entire program . . . .) (emphasis added).
                                 15          Prior to Plaintiff’s employment at ERAU, Defendant filed a complaint with ERAU
                                 16
                                      under Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. §1681 et
                                 17
                                 18   seq. Defendant was displeased with how ERAU investigated the Title IX complaint

                                 19   and/or its findings.   In September of 2020, Defendant met with Plaintiff regarding
                                 20
                                      Defendant’s concerns. While Plaintiff attempted to be empathetic to Defendant’s
                                 21
                                 22   concerns, Plaintiff made it very clear to Defendant during the meeting that Plaintiff is not,

                                 23   and has never been, involved with overseeing or supervising any Title IX issues at
                                 24
                                      ERAU. During the meeting, Defendant acknowledged her understanding that Plaintiff has
                                 25
                                      nothing to do with any Title IX matters.
                                 26
                                 27          Surprisingly, however, on or about February 15, 2021, Defendant published
                                 28


                                                                                   2
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                                  1
                                      several false and defamatory statements on Change.org (the “Petition”). Defendant

                                  2   knowingly made the false implication that Plaintiff was not only responsible for
                                  3
                                      Defendant’s investigation taking over 150 days, but that Plaintiff was also responsible for
                                  4
                                      how things were handled post-investigation, even though Defendant was well aware that
                                  5
                                  6   this was false.
                                  7
                                             In addition to publishing the Petition, on February 15, 2021, Defendant emailed at
                                  8
                                      least 74 students and faculty at ERAU and directed them to “check out this petition and
                                  9
                                 10   share.” Defendant also posted on Facebook.com the false and defamatory implication
                                 11   that Plaintiff was directly connected to the mismanagement of Defendant’s Title IX case
                                 12
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                                      at ERAU.
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                                 14          Before publishing the Petition, Defendant also created and disseminated at least
                                 15   four memes of Plaintiff, each containing a False Statement or variation thereof, designed
                                 16
                                      and intended to impeach Plaintiff’s ability to adequately perform her duties as the Dean
                                 17
                                 18   of Students at ERAU. Defendant’s conduct was clearly intended to cause harm to

                                 19   Plaintiff’s reputation and interfere with her employment with ERAU.
                                 20
                                             After Plaintiff confronted Defendant about why and how the False Statements
                                 21
                                 22   were not true, Defendant took several days to remove the Petition and the Facebook

                                 23   comment after receiving several demands from Plaintiff. On February 16, 2021,
                                 24
                                      Defendant was also informed by a Title IX investigator at ERAU that Plaintiff “has
                                 25
                                      nothing to do with Title IX here at ERAU or any of its processes.” However, even after
                                 26
                                 27   learning from an actual Title IX investigator at ERAU that the Petition contained several
                                 28


                                                                                  3
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                                  1
                                      false and defamatory statements, Defendant failed to act promptly to remove the Petition.

                                  2   After receiving several demands from Plaintiff to delete the Petition, Defendant finally
                                  3
                                      did so on February 21, 2021.
                                  4
                                               At this point, however, the False Statements began to spread well beyond ERAU,
                                  5
                                  6   and individuals who were not affiliated with ERAU began to share the Petition on social
                                  7
                                      media and make new negative comments about Plaintiff. It was explained to Defendant
                                  8
                                      the damage she caused and that she would continue to cause if she did not promptly issue
                                  9
                                 10   a retraction. After giving Defendant well over a month, Defendant failed and refused to
                                 11   do so, and Plaintiff then filed this lawsuit. Plaintiff has extended to Defendant several
                                 12
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                                      extremely generous proposals to resolve this matter; however, Defendant has failed and
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                                 14   refused to accept any such proposal. Instead, Defendant continues to attempt to avoid
                                 15   taking responsibility for her conduct.
                                 16
                                      II.      LEGAL ARGUMENT.
                                 17
                                 18         A. Defendant is not currently serving in the armed forces.

                                 19         Pursuant to § 3902, a primary purpose of the Act is to “provide for the temporary
                                 20
                                      suspension of judicial and administrative proceedings and transactions that may adversely
                                 21
                                 22   affect the civil rights of servicemembers during their military service.” 50 U.S.C. §

                                 23   3902(2).2 The term “military service” means, “in the case of a servicemember who is a
                                 24
                                 25
                                      2
                                 26     See also 50 U.S.C.A. § 3932(a) (“This section applies to any civil action or proceeding,
                                      including any child custody proceeding, in which the plaintiff or defendant at the time of filing
                                 27   an application under this section-- (1) is in military service or is within 90 days after termination
                                      of or release from military service; and (2) has received notice of the action or proceeding.”).
                                 28
                                      Emphasis added.

                                                                                       4
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                                  1
                                      member of the Army, . . . active duty . . . .” 50 U.S.C. § 3911(2)(A). As discussed

                                  2   above, Defendant is not a “member of the Army.” Defendant is currently participating in
                                  3
                                      the Army’s ROTC program and is not currently enlisted in the armed services.
                                  4
                                      Moreover, because Defendant is not enlisted in the Army, Defendant cannot be on
                                  5
                                  6   “active duty.” On this basis alone, Defendant’s Motion must be denied.
                                  7
                                         B. Even if Defendant could be considered to be in the armed forces for purposes
                                  8         of the Act, Defendant has failed to explain, in any fashion, the manner in
                                            which current military duty requirements materially affect her ability to
                                  9
                                            appear and defend this case.
                                 10
                                             Pursuant to § 3932(b)(2), “[a]n application for a stay . . . shall include the
                                 11
                                 12   following: (A) A letter or other communication setting forth facts stating the manner in
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                                 13   which current military duty requirements materially affect the servicemember's ability to
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                                 14
                                      appear and stating a date when the servicemember will be available to appear. (B) A
                                 15
                                 16   letter or other communication from the servicemember's commanding officer stating that

                                 17   the servicemember's current military duty prevents appearance and that military leave is
                                 18
                                      not authorized for the servicemember at the time of the letter.” 50 U.S.C. § 3932(b)(2).
                                 19
                                 20          Defendant has not met, and cannot meet, both requirements of 50 U.S.C. §

                                 21   3932(b)(2). Defendant’s Motion consists of a caption, a copy of a prior version of the
                                 22
                                      statute, and a summary of the Act printed from the Internet. Defendant fails to provide
                                 23
                                 24
                                      any explanation regarding her alleged inability to appear, or a letter from her

                                 25   commanding officer. “It is well-established [] that a party who conducts a case without
                                 26
                                      an attorney is entitled to no more consideration from the court than a party represented by
                                 27
                                      counsel, and is held to the same standards expected of a lawyer.” Kelly v. NationsBanc
                                 28


                                                                                  5
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                                  1
                                      Mortgage Corp., 199 Ariz. 284, 287, 17 P.3d 790, 793 (Ct. App. 2000), as amended

                                  2   (Mar. 1, 2001). Accordingly, the Court must deny the Motion.
                                  3
                                      III.   CONCLUSION.
                                  4
                                             For all of the foregoing reasons, Plaintiff respectfully requests that the Court enter
                                  5
                                  6   an order denying the Motion, awarding Plaintiff the reasonable attorneys’ fees that she
                                  7
                                      incurred in defending against this frivolous Motion, and granting such other and further
                                  8
                                      relief as the Court finds reasonable and necessary.
                                  9
                                 10          RESPECTFULLY submitted this 27th day of July, 2021.

                                 11                                             RM WARNER, PLC
                                 12
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                                                                         By:    /s/ Daniel R. Warner
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   Scottsdale, Arizona 85258




                                 13
                                                                                Daniel R. Warner, Esq.
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                                                                                Scottsdale, Arizona 85258
                                 15
                                                                                Attorneys for Plaintiff
                                 16
                                      COPY of the foregoing filed
                                 17   this same date with the Clerk of the Court
                                 18
                                      COPY of the foregoing
                                 19   Mailed this same date to:
                                 20
                                      Audrey Davis
                                 21   1103 Overcliff Drive
                                 22   Apex, NC 27502
                                      Defendant Pro Per
                                 23
                                 24   /s/ Anne E. Griffith

                                 25
                                 26
                                 27
                                 28


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